Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 1 of 6 PageID 11209




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


     COMMODITY FUTURES
     TRADING COMMISSION,

            Plaintiff,

     v.                                               Case No. 3:17-cv-774-J-32MCR

     JASON B. SCHARF, CIT
     INVESTMENTS LLC,
     BREVSPAND EOOD, CIT
     INVESTMENTS LTD., A&J MEDIA
     PARTNERS, INC., MICHAEL
     SHAH, and ZILMIL, INC.,

            Defendants.



                                        ORDER

            This case is before the Court on numerous pending motions. On July 24,

     2020, the Court held a hearing on all pending motions in this case and its two

     ancillary cases: Murena v. Shah, 3:19-cv-856-J-32PDB and Murena v. Kumar,

     3:19-cv-812-J-32JRK. The record of the hearing is incorporated herein.

            For the reasons stated on the record, it is hereby

            ORDERED:

          1. The Receiver’s Eighth Interim Application for an Order Approving and

            Authorizing Payment of Fees and Expenses (Doc. 261), which covers the
Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 2 of 6 PageID 11210




           period from August 2019 through January 2020 is GRANTED. As

           discussed at the hearing, the Receiver should have done a better job of

           obtaining prior approval based on the Court’s orders. But, in reviewing

           the Receiver and his professionals’ time expended and what they have

           accomplished, the Court is prepared to pay the application in full.

              a. The Receiver’s Eighth Interim Application is APPROVED.

              b. The total amount of fees and costs that the Receiver and his Lead

                 Counsel, Damian & Valori LLP, incurred during the Application

                 Period in the amount of $100,546.48 (comprised of $96,900.00 in

                 fees and $3,646.48 in costs) is APPROVED.

              c. The Receiver is AUTHORIZED to pay 100% of all fees and costs

                 that the Receiver and his Lead Counsel, Damian & Valori LLP,

                 incurred during the Application Period to be paid immediately from

                 the Receiver’s Zilmil fiduciary account.

              d. The total amount of the fees and costs that the Forensic Accountant,

                 Kapila Mukamal LLP, incurred during the Application Period in

                 the amount of $27,732.82 (comprised of $27,638.00 in fees and

                 $94.82 in costs) is hereby APPROVED.

              e. The Receiver is AUTHORIZED to pay 100% of fees and costs that

                 the Forensic Accountants, Kapila Mukamal LLP, incurred during




                                            2
Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 3 of 6 PageID 11211




                   the Application Period, to be paid immediately from the Receiver’s

                   Zilmil fiduciary account.

                f. Going forward, the Receiver shall submit status reports and

                   associated fee applications twice a year, covering January through

                   June and July through December respectively. 1 The updates shall

                   clearly delineate the expenses incurred each calendar quarter and

                   shall not exceed the quarterly caps imposed by the Court without

                   prior Court approval. Although the Court is permitting the Receiver

                   to file fewer updates and applications, the Court’s expenditure

                   limits still apply to each quarter separately.

                g. The Court reserves final approval of all fees approved herein until

                   such time as the Receiver is discharged of his duties in this matter

                   and/or final disbursement of funds held by the Estate.

        2. The Receiver’s Notice Regarding Efforts to Implement Claims Process

           and Unopposed Motion to Establish Revised Schedule (Doc. 273) is

           GRANTED in part. The Court previously approved the process and

           notice, and it imposed a $75,000 cap for phase one. (Doc. 253).

                a. The Receiver is authorized to commence phase one of the Notice

                   and Claims process.



           1   The Eighth Application (Doc. 261) already covered January, 2020.


                                               3
Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 4 of 6 PageID 11212




             b. If the Receiver believes, based on claims submitted, that phase one

                may exceed the $75,000 cap, then he shall file a motion with the

                Court requesting an increase to the Court’s expenditure limit.

             c. As stated at the hearing, after phase one concludes the Receiver

                will prepare a status update for the Court and provide

                recommendations on how to proceed based on the number of claims

                submitted. Phase one is governed by the following deadlines:

                 i. Deadline to send out notice of claims process – August 21, 2020.

                ii. Deadline for claimants to submit claims – September 25, 2020.

               iii. Deadline for the Receiver to file a notice regarding the results of

                   phase one of the claims process and a proposed schedule for the

                   remainder of the claims process – October 23, 2020.

        3. The Receiver’s Unopposed Motion to Approve Settlement Agreement and

           Release (Doc. 277) is GRANTED.

             a. The Settlement Agreement with Montello Marketing, Inc. is

                APPROVED.

             b. The Court retains jurisdiction to enforce the terms of the settlement

                agreement.

        4. The Receiver’s Unopposed Application for Authorization to Pay Litigation

           Expert Witness (Doc. 290) is GRANTED.




                                            4
Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 5 of 6 PageID 11213




             a. The Receiver is authorized to pay his expert witness, Melissa Davis,

                   $29,411.55 in fees and costs from the Receiver’s fiduciary account.

             b. The Receiver is authorized to pay Susan Smith $870 for her

                   deposition time from the Receiver’s fiduciary account.

        5. The Receiver’s Amended Motion for Limited Increase in Court-Imposed

           Quarterly Limit for Receiver’s Expenditures During Second and Third

           Quarters of 2020 (Doc. 297) is GRANTED in part and DENIED in

           part.

             a. The Receiver’s requested increase in the expenditure cap for the

                   second quarter of 2020 is granted. The cap for the period of April,

                   May, and June 2020 is increased to $150,000.

             b. The Receiver’s requested increase in the expenditure cap for the

                   third quarter of 2020 is denied without prejudice. As the Court

                   vacated the scheduled trial date in Murena v. Shah, 3:19-cv-856-J-

                   32PDB, the Receiver’s reasons for increasing the cap to $125,000 no

                   longer exist. The Court imposes a $100,000 cap for the third quarter

                   of 2020, and the Receiver shall request any increase in the cap

                   before incurring the expenses.

        6. Defendant Michael Shah’s Motion for Partial Relief from Consent Order

           for Permanent Injunction, Civil Monetary Penalty, and Other Equitable

           Relief Against Defendants Michael Shah and Zilmil, Inc. (Doc. 265) is


                                              5
Case 3:17-cv-00774-TJC-MCR Document 299 Filed 07/27/20 Page 6 of 6 PageID 11214




             taken under advisement. If this case does not settle, the Court will

             conduct an evidentiary hearing in conjunction with the bench trial in

             Murena v. Shah, 3:19-cv-856-J-32PDB at which the lawyers would be

             required to testify regarding the motion.

        7. The Receiver’s Motion for Imposition of Constructive Trust on Funds,

             Assets, and Real Property Traceable to Zilmil, Inc. (Doc. 268) is taken

             under advisement. This motion will also be handled in conjunction with

             the bench trial in Murena v. Shah, 3:19-cv-856-J-32PDB.

        8. As stated at the hearing, the parties agreed to conduct a global mediation

             with the parties in, Murena v. Shah, 3:19-cv-856-J-32PDB. The Receiver

             shall take the lead in scheduling a global mediation to occur by October

             16, 2020. If the parties are unsuccessful in reaching a settlement, they

             shall file a joint notice within ten days of the mediation recommending

             how the case should proceed.

             DONE AND ORDERED in Jacksonville, Florida this 27th day of July,

     2020.




                                                         TIMOTHY J. CORRIGAN
                                                         United States District Judge
     jjb
     Copies to:
     Counsel of record


                                              6
